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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
      RICHARD MICHAEL NEUHEART,         ) NO. SACV 21-00827 JFW (KS)
11                                      )
                   Petitioner,
12                                      )
            v.                          ) JUDGMENT
13                                      )
14    PATRICK EATON, Warden,            )
                                        )
15                    Respondent.       )
16    _________________________________ )

17
18          Pursuant to the Court’s Order, IT IS ADJUDGED that this action is dismissed without
19    prejudice.
20
21
22    DATED:       November 12, 2021                    ________________________________
23                                                               JOHN F. WALTER
                                                        UNITED STATES DISTRICT JUDGE
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